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15                          UNITED STATES DISTRICT COURT
16           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
17
      MATTHEW BOERMEESTER,                    Case No.: 2:19-CV-2137-R-MRW
18
               Plaintiff,                     DECLARATION OF MARK M.
19    v.                                      HATHAWAY IN SUPPORT OF
20    UNIVERSITY OF SOUTHERN                  JOINT STIPULATION TO
      CALIFORNIA, GRETCHEN                    CONTINUE HEARING ON
21    DAHLINGER MEANS, individually           MOTION TO DISMISS
      and in her official capacity, and Dr.
22    AINSLEY CARRY, individually and in
      his official capacity,
23
                 Defendants.
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      DECLARATION OF MARK M. HATHAWAY IN SUPPORT OF JOINT STIPULATION TO
                   CONTINUE HEARING ON MOTION TO DISMISS
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 1                                        DECLARATION

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        1. I am an attorney duly licensed to practice in the State of California before the
 3
     United States District Court for the Central District of California. This declaration is
 4
     based on personal knowledge of the matters set forth herein.
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        2. I am attorney of record and serve as local counsel for Plaintiff Matthew
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     Boermeester in the instant matter, pursuant to Local Rule 83-2.1.3.4.
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        3. On March 28, 2019, plaintiff’s counsel in New York timely filed their applications
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     to appear pro hac vice: Andrew T. Miltenberg, Esq., Stuart Bernstein, Esq., and Tara J.
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     Davis with the law firm Nesenoff & Miltenberg LLP.
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        4. On April 10, 2019 counsel for all parties participated in a telephonic meet and
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     confer regarding the Motion to Dismiss the defendants intended to file. Although the
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     legal issues of the Motion to Dismiss were discussed among counsel, there was no
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     discussion regarding scheduling of any hearing on the motion.
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        5. On April 17, 2019, I received notice of the Motion to Dismiss, which defendants
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     had scheduled for hearing on May 20, 2019. Due to scheduling conflicts with the
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     required briefing and the hearing date of May 20, 2019, pro hac vice counsel asked me
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     to inquire of defendants’ counsel if they would agree to the hearing date being continued
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     to a mutually agreed date. For religious reasons, Ms. Davis, Mr. Bernstein, & Mr.
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     Miltenberg were unavailable the week of April 22, 2019 to prepare responsive pleadings.
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     In addition, pro hac vice were unavailable on May 20, 2019 as attorney Tara Davis was
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     scheduled to conduct depositions in New York in the matter of Doe v. Colgate Univ. 17-
22
     cv-3594), attorney Stuart Bernstein was previously engaged for a scheduled arbitration
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     in New York in the matter of Stempel v. JTH Construction, and counsel Andrew T.
24
     Miltenberg was scheduled to appear in the matter of Doe v. Michigan State University,
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     1:18-cv-01430).
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        6. As of April 24, 2019, defendants’ counsel graciously agreed to stipulate for an
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     order to continue the hearing to June 17, 2019, with the further stipulation that any
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     Opposition to Motion to Dismiss would be filed no later than May 23, 2019.
         DECLARATION OF MARK M. HATHAWAY IN SUPPORT OF JOINT STIPULATION TO
                      CONTINUE HEARING ON MOTION TO DISMISS
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 1      7. On April 26, 2019, the parties submitted their Joint Stipulation to Continue the
 2 Hearing on the Motion to Dismissed and a proposed Order.
 3      8. On April 29, 2019, Manuel L. Real, United States District Judge issued an
 4 ORDER RE: NOTICE TO COUNSEL, which includes the following instruction:
 5                 CONTINUANCES: Counsel requesting a continuance must
 6                submit a stipulation with a detailed declaration as to the reason
                  for the requested continuance or extension of time, together with
 7
                  a proposed order. Stipulations, including those for second and
 8                subsequent extensions of time to respond to the complaint, are
 9                effective ONLY when approved by this Court. Any stipulation
                  not in compliance with this order or the Local Rules will
10                automatically be denied without further notice to the parties.
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        9. Also on April 29, 2019, the Court granted the pro hac vice applications of Andrew
12
     T. Miltenberg, Esq., Stuart Bernstein, Esq., and Tara J. Davis, Esq.
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        10. I am filing this declaration in support of the Joint Stipulation to Continue Hearing
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     on Motion To Dismiss and in compliance with the Order re: Notice to Counsel and
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     Order issued May 8, 2019.
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        11.There have been no previous continuances and on behalf of all counsel and parties
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     I respectfully request that the Court enter the order as agreed and stipulated by the
18
     parties.
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        I declare under penalty of perjury that the forgoing is true and correct.
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     Date: May 10, 2019                     By: /S/ Mark M. Hathaway                  .
22                                               HATHAWAY PARKER
23                                               Mark Hathaway, Esq.
                                                 Attorneys for Plaintiff
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                                                 Matthew Boermeester
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         DECLARATION OF MARK M. HATHAWAY IN SUPPORT OF JOINT STIPULATION TO
                      CONTINUE HEARING ON MOTION TO DISMISS
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